






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-04-00504-CV






Ray F. Wilson and Faye D. Wilson, Appellants



v.



Clarence Wachsmann and Joyce Wachsmann, Appellees






FROM THE DISTRICT COURT OF LEE COUNTY, 335TH JUDICIAL DISTRICT


NO. 12,439, HONORABLE H. R. TOWSLEE, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N




	Appellants Ray F. Wilson and Faye D. Wilson bring this pro se appeal of the district
court's judgment denying them any recovery against appellees Clarence Wachsmann and Joy (1)
Wachsmann on the Wilsons' claims for past-due farm rent, unpaid loans, and damage to land and
awarding damages to the Wachsmanns on their counterclaims.  In twenty-four issues, (2) the Wilsons
challenge the district court's rulings on various pretrial and posttrial motions.  For the reasons
discussed below, we affirm the district court's judgment.




BACKGROUND

	This appeal arises from a dispute over an alleged oral agreement concerning loans and
farm rent.  For many years, the Wachsmann and Wilson families had a sharecropping arrangement
whereby the Wachsmanns would lease the Wilsons' farm land in Manheim; provide the seed,
equipment, and labor to grow various crops; and split the proceeds from the crop with the Wilsons. 
The two families never memorialized these arrangements in writing but operated under oral
agreements that renewed from year-to-year.

	Until their deaths, Ray Wilson's father (Fred Wilson), and Ray Wilson's brother (Ural
Wilson), oversaw the family's sharecropping arrangement with the Wachsmanns.  Thereafter, Ray
Wilson and his wife, Faye Wilson, began exclusive oversight of the arrangement.  Disputes arose,
and the Wilsons sued the Wachsmanns in justice of the peace court claiming that the Wachsmanns
failed to repay a $5000 loan for farm expenses.  The Wilsons went to trial under a second amended
original petition that sought both eviction ("immediate possession of their property") and "$5,000
without pre-judgment interest but with post-judgment interest, as complete and full satisfaction of
said debt owed."  The justice court rendered a take-nothing judgment:

This the 25th day of March, 2003, came on to be tried in its regular order the above-styled and numbered cause, wherein RAY F. WILSON, FAYE D. WILSON,
Plaintiff, and CLARENCE WACHSMANN, JOYCE WACHSMANN, Defendant,
and came the parties in person and through their attorney and announced ready for
trial, and neither party having demanded a jury, all matters in controversy, of fact and
law, were submitted to the Court sitting without a jury; and the pleadings, evidence
and argument of counsel having been heard by the Court, it is the opinion of the
Court that the Plaintiff should take nothing by his suit; that the Defendant, go hence
with his cost without delay and that execution issue in Defendant's behalf for his said
costs.


The Wilsons did not perfect an appeal from this judgment. (3)

	In a separate action in district court, the Wilsons sued the Wachsmanns for
$21,173--which included the $5000 farm expense loan for which they had sought recovery in justice
court.  The Wachsmanns counterclaimed, seeking as an offset the damages they incurred from the
Wilsons' breaching the crop lease agreement by attempting to evict them.

	The Wachsmanns sought partial summary judgment on the basis that the Wilsons'
claim regarding the $5000 farm expense loan was barred by res judicata.  The district court granted
the motion, ordering:

IT IS ORDERED that upon the trial of this cause the following facts are found to be 

established without the need of further proof:


Defendants Wachsmann are not liable to Plaintiffs Wilson for the $5,000.00 debt
alleged by Plaintiffs to be due them from the Defendants.


IT IS FURTHER ORDERED that all other facts material to the claims and defense
of the parties remain for trial.



	The Wilsons subsequently filed a motion for rehearing of the partial summary
judgment and a motion for sanctions against the Wachsmanns' counsel; the district court denied
both.  The court also granted the Wachsmanns' motion in limine to preclude either party from
mentioning the $5000 farm expense loan.  It also granted the Wachsmanns' motion to exclude the
testimony of two of the Wilsons' witnesses whom they had failed to identify in response to the
Wachsmanns' request for disclosure.  Finally, the district court denied an instrument that the Wilsons
termed "special exceptions," which purported to challenge the Wachsmanns' answer with evidence
of additional facts.

	The claims were tried to a jury, which rejected each of the Wilsons' claims for
damages, found that the Wilsons breached the crop lease agreement, and awarded damages to the
Wachsmanns of $4687.  The district court rendered judgment in accordance with the jury verdict,
awarding the Wachsmanns $4687 in damages, plus costs and attorney's fees, see Tex. Civ. Prac. &amp;
Rem. Code Ann. § 38.001(8) (West 1997), and ordering that the Wilsons take nothing on their
claims.  After judgment, the Wilsons filed a motion for new trial, a motion for judgment
notwithstanding the verdict, and a motion to supplement their answers to the Wachsmanns'
disclosure requests.  The district court denied each of these motions.

	On appeal, the Wilsons contend that the district court erred by (1) denying their
special exceptions; (2) granting a motion for partial summary judgment while denying their motion
for rehearing, motion for sanctions, and their bills of exception; (3) excluding two of their trial
witnesses; (4) failing to give a limiting instruction after the Wachsmanns' counsel violated the
motion in limine; (5) denying their motion for new trial and motion for judgment notwithstanding
the verdict; and (6) denying their motion to supplement discovery.



DISCUSSION


Special exceptions

	In their first set of issues, the Wilsons complain that the district court erred in denying
their special exceptions.  The Wilsons excepted to the portion of the Wachmanns' original answer
that asked the district court to take judicial notice of the justice court's take-nothing judgment.  They 
also excepted to the Wachsmanns' counterclaim for breach of the lease agreement, which alleged
that the Wilsons' damages should be offset by the expenses that the Wachsmanns incurred as a result
of the Wilsons' eviction proceedings.  We note that the Wachsmanns' original answer, which is the
subject of the Wilsons' special exceptions, is omitted from the appellate record.

	We review the district court's ruling on special exceptions for an abuse of discretion. 
Wayne Duddlesten, Inc. v. Highland Ins. Co., 110 S.W.3d 85, 96 (Tex. App.--Houston [1st Dist.]
2003, pet. denied) (citing Muecke v. Hallstead, 25 S.W.3d 221, 224 (Tex. App.--San Antonio 2000,
no pet.)).  An abuse of discretion will be found if the district court fails to correctly analyze or apply
the law.  See Walker v. Packer, 827 S.W.2d 833, 840 (Tex. 1992).

	In their special exceptions, the Wilsons argued that the court should not take judicial
notice of the justice court's judgment because it conflicted with an oral agreement that the justice
court would only rule on the issue of possession.  They also argued that the allegations in the
Wachsmanns' counterclaim for offset were insufficient to give them fair notice. (4)

	The Wilsons' special exceptions were improper.  Special exceptions must confine
themselves to addressing matters shown on the face of the opposing pleading and must not inject
factual allegations not appearing in the pleading against which the exception was raised.  Brown v.
Hawes, 764 S.W.2d 855, 856 (Tex. App.--Austin 1989, no writ); see also Tex. R. Civ. P. 91.  When
a special exception "goes outside the record and sets up a matter which requires proof, it is by its
very nature a 'speaking demurrer,' which is not a valid pleading under our rules."  Sherman v. Triton
Energy Corp., 124 S.W.3d 272, 282-83 (Tex. App.--Dallas 2003, pet. denied) (quoting Travelers
Indem. Corp. v. Holt Mach. Co., 554 S.W.2d 12, 15 (Tex. Civ. App.--El Paso 1977, no writ)).  The
Wilsons' purported special exceptions were not confined to matters on the face of the Wachsmanns'
answer but relied upon extrinsic facts:  an alleged agreement between the parties that conflicted with
the justice court's judgment and excerpts of deposition testimony disputing the merits of the
Wachsmanns' counterclaim. (5)

	Because the Wilsons' exceptions relied upon facts extrinsic to the Wachsmanns'
original answer, the district court did not abuse its discretion in denying their special exceptions. 
We overrule the Wilsons' first issue.


Partial summary judgment


	In their second set of issues, the Wilsons contend that the district court erred in
granting a partial summary judgment that the Wilsons' claim regarding the $5000 farm expense loan
was barred by res judicata.  The Wilsons also challenge the court's denial of motions they later filed
seeking rehearing of the partial summary judgment and sanctions, (6) each of which sought to revisit
matters addressed in the partial summary judgment.

	The district court's ruling on a summary judgment is a question of law that we review
de novo.  Valence Operating Co. v. Dorsett, 164 S.W.3d 656, 661 (Tex. 2005).  The party moving
for summary judgment bears the burden of showing that no genuine issue of material fact exists and
that it is entitled to judgment as a matter of law.  Provident Life &amp; Accident Ins. Co. v. Knott, 128
S.W.3d 211, 215-16 (Tex. 2003).  The Wilsons argue that the district court's order "gives rise to an
erroneous judgment on all grounds" because it does not specify the grounds on which the court
relied.  In fact, Texas law is squarely the opposite:  because the district court's order does not specify
the grounds for its ruling, we must affirm the summary judgment if any of the theories presented to
it and preserved for appellate review are meritorious.  Id. at 216.

	Under the doctrine of res judicata, the Wilsons are barred from raising in district
court claims that were adjudicated in the justice court's take-nothing judgment.  See Brown v.
Henderson, 941 S.W.2d 190, 192 (Tex. App.--Corpus Christi 1996, no writ) (discussing Tex. Civ.
Prac. &amp; Rem. Code Ann. § 31.005 (West 1997)); Wren v. Gusnowski, 919 S.W.2d 847, 849 (Tex.
App.--Austin 1996, no writ); Webb v. Persyn, 866 S.W.2d 106, 107 (Tex. App.--San Antonio 1993,
no writ); McClendon v. State Farm Ins. Co., 796 S.W.2d 229, 232 (Tex. App.--El Paso 1990, writ
denied); see also Harrill v. A.J.'s Wrecker Serv., Inc., 27 S.W.3d 191, 195 (Tex. App.--Dallas 2000,
pet. dism'd w.o.j.) (county court at law sua sponte dismissed additional causes of action that claimed
same damage and were based on same conduct as in prior justice court suit).

	Res judicata precludes the relitigation of claims that have been finally adjudicated
in a prior action as well as claims that pertain to the same subject matter and could have been, but
were not, litigated.  Amstadt v. United States Brass Corp., 919 S.W.2d 644, 652 (Tex. 1996).  The
policies behind res judicata reflect the need to bring all litigation to an end, prevent vexatious
litigation, maintain the stability of court decisions, promote judicial economy, and prevent double
recovery.  Barr v. Resolution Trust Corp., 837 S.W.2d 627, 629 (Tex. 1992).  Res judicata defeats
a claim when there is proof of (1) a prior final judgment on the merits by a court of competent
jurisdiction; (2) identity of parties or those in privity with them; and (3) a second action based on the
same claims as were raised or could have been raised in the first action.  Amstadt, 919 S.W.2d at
652.

	Here, the justice court entered a prior, final judgment on the merits of the Wilsons'
claim for repayment of the alleged $5000 farm expense loan.  The justice court's judgment, entered
on March 23, 2003, had become final by July 23, 2003, when the Wilsons filed their suit in district
court.  See Tex. R. Civ. P. 306a, 329b(a); Tex. R. App. P. 26.1(a).  The justice court's take-nothing
judgment, which recites that it considered "all matters in controversy, of fact and law," submitted
by the parties and heard the "pleadings, evidence, and argument of counsel," was a ruling on the
merits.  See Qaddura v. Indo-European Foods, Inc., 141 S.W.3d 882, 894 (Tex. App.--Dallas 2004,
pet. denied) (take-nothing judgment is judgment on merits); State v. Herrera, 25 S.W.3d 326, 326
(Tex. App.--Austin 2000, no pet.) (same).  The justice court was a court of competent jurisdiction
for the Wilsons' claims for eviction and the $5000 debt.  See Tex. Gov't Code Ann. §&nbsp;27.031(a)
(West 2004).

	Additionally, the parties and claims in the justice court and district court suits were
the same.  The Wilsons' district court petition claimed $5000 for a loan to the Wachsmanns, just as
their justice court petition for eviction included a claim for $5000 in "complete and full satisfaction"
of the same debt.  See Brown v. Henderson, 941 S.W.2d 190, 192 (Tex. App.--Corpus Christi 1996,
no writ) (comparing pleadings submitted in justice court and county court at law to identify any
claims that were not barred by res judicata).  The Wilsons did not sever their claim for the $5000
loan from their claim to evict the Wachsmanns from the farm.  See Van Dyke v. Boswell, O'Toole,
Davis &amp; Pickering, 697 S.W.2d 381, 384 (Tex. 1985) (res judicata effects of action cannot preclude
litigation of claims that trial court explicitly severs from that action).

	Because the Wachsmanns proved the existence of a prior final judgment on the merits
by a court of competent jurisdiction, an identity of parties, and a second action based on the same
claim, they satisfied the elements of the affirmative defense of res judicata as a matter of law.  See
Amstadt, 919 S.W.2d at 652.  Accordingly, we find that the Wilsons' claim for the $5000 loan to the
Wachsmanns was barred by res judicata.

	The Wilsons seek to avoid the implications of res judicata by collaterally attacking
the justice court's judgment.  They contend that, while their written justice court pleadings sought
recovery of the $5000 loan, these pleadings were in fact orally amended, superseded, and abandoned. 
Noting that pleadings in justice court are often oral, the Wilsons argue that the justice court orally
ruled in open court that it lacked jurisdiction over the loans and that the Wachsmanns' counsel pled
orally that "we should address only possession and leave loans and rent for another court."  See Tex.
R. Civ. P. 525.

	As an appellate court, we are bound by the record before us, and there is nothing in
the record to support the Wilsons' assertions regarding their justice court pleadings.  In any event, 
the justice court's written order controls over any alleged oral pronouncement at a hearing.  In re
K.M.B., 148 S.W.3d 618, 622 (Tex. App.--Houston [14th Dist.] 2004, no pet.); see also In re J.J.,
900 S.W.2d 353, 356 (Tex. App.--Texarkana 1995, no writ) (written judgment controls over court's
oral pronouncements); Nine Greenway Ltd. v. Heard, Goggan, Blair &amp; Williams, 875 S.W.2d 784,
787 (Tex. App.--Houston [1st Dist.] 1994, no writ) (same).

	The Wilsons also argue that the Wachsmanns later judicially admitted the existence
of the $5000 debt in district court.  There is no such admission in the record. (7)  They also contend that
the Wachsmanns' motion for partial summary judgment was untimely.  The sole basis for this
assertion was a deadline included in a proposed docket control order that the Wilsons circulated but
the Wachsmanns never agreed to and the district court did not adopt.  Finally, the Wilsons contend
that the district court failed to address contentions raised in pleadings the Wilsons filed after the
Wachsmanns submitted their motion for partial summary judgment but before the district court
granted it. (8)  The record does not reflect that any such pleadings were filed and, in any event, the
district court was required to render its order based on the pleadings on file at the time the
Wachsmanns' motion was submitted.  Tex. R. Civ. P. 166a(c)(ii).

	The district court did not err in granting the Wachsmanns' motion for partial summary
judgment.


	Motion for sanctions


	Revisiting their arguments against the motion for partial summary judgment, the
Wilsons contend that the district court erred in denying their motion for sanctions (9) against the
Wachsmanns and their counsel for filing groundless pleadings.  See Tex. R. Civ. P. 13.

	We review a ruling on a motion for sanctions under an abuse of discretion standard.
Cire v. Cummings, 134 S.W.3d 835, 838 (Tex. 2004).  The test under this standard "is not whether,
in the opinion of the reviewing court, the facts present an appropriate case for the trial court's action,
but 'whether the court acted without reference to any guiding rules and principles.'"  Id.  The trial
court's ruling should be reversed only if it was arbitrary or unreasonable.  Id.  Moreover, rule 13
requires courts to presume that pleadings are filed in good faith.  GTE Communications Sys. Corp.
v. Tanner, 856 S.W.2d 725, 731 (Tex. 1993).  The burden is on the party moving for sanctions to
overcome this presumption.  Id.

	The Wilsons argue that the district court pleadings made the basis of the
Wachsmanns' motion for partial summary judgment had "no basis in law or fact."  To support this
assertion, the Wilsons advance the same arguments concerning the pleadings and rulings in justice
court as they did in opposition to the Wachsmanns' partial summary judgment motion.  We conclude
that the district court did not abuse its discretion in denying the Wilsons' motion for sanctions.


	Motion for rehearing


	The Wilsons further contend that the district court erred in denying their motion for
rehearing of the Wachsmanns' partial summary judgment.  Their motion informed the court that its
ruling was based on pleadings that had been amended and asked the court to hold a second,
expedited hearing so that the Wilsons could present two subpoenaed witnesses, the justice of the
peace and his assistant.  The district court did not err in denying the motion for rehearing or abuse
its discretion in refusing to hold a hearing to hear live testimony.  Tex. R. Civ. P. 166a(c) ("[n]o oral
testimony shall be received"); see Martin v. Martin, Martin &amp; Richards, Inc., 989 S.W.2d 357, 359
(Tex. 1998).

	We have found that the district court did not err in granting partial summary judgment
for the Wachsmanns.  We further find that the district court did not abuse its discretion in denying
the Wilsons' motions for rehearing and for sanctions.  Accordingly, we overrule the Wilsons' second
set of issues.


Exclusion of trial witnesses


	In their third set of issues, the Wilsons assert that the district court erred in excluding
the testimony of two witnesses at trial, the justice of the peace who presided over their first suit and
his assistant.  We review a trial court's decision to exclude testimony for an abuse of discretion. 
Morrow v. H.E.B., Inc., 714 S.W.2d 297, 298 (Tex. 1986).

	The Wilsons' brief states that the court "refused the necessary indispensable
discovery" from these witnesses and that it should not have imposed a "death penalty sanction" on
the Wilsons to deny them a trial on the merits of the case.  In fact, the record shows that the district
court excluded the justice of the peace and his assistant because the Wilsons failed to identify them
in response to the Wachmanns' request for disclosure.  See Tex. R. Civ. P. 194; 193.6(a).  The
district court did not abuse its discretion in excluding the witnesses in accordance with rule 193.6. 
We overrule the Wilsons' third set of issues.


Motion to supplement discovery


	In their fourth set of issues, the Wilsons assert that the district court erred in denying
the Wilsons' motion to supplement their response to the Wachsmanns' disclosure requests.  The
Wilsons' request to supplement their list of testifying witnesses was untimely--they filed it after the
verdict and judgment.  See Tex. R. Civ. P. 193.5(b).  Thus, we overrule the Wilsons' fourth set of
issues.


Limiting instruction


	In their fifth set of issues, the Wilsons argue that the district court erred in failing to
give a limiting instruction when the Wachsmanns' counsel violated the motion in limine by
mentioning the $5000 loan in closing arguments.  The Wilsons did not preserve error regarding this
contention by objecting or requesting a limiting instruction at the time.  See Tex. R. App. P. 33.1(a)
(party must make timely request, objection, or motion, stating specific grounds for ruling it desired 
court to make, and obtain ruling to preserve complaint for appellate review).  Although the Wilsons
approached the bench after the Wachsmanns' counsel commented on the loan, the bench conference
was off the record.  Because the record shows that the Wilsons failed to preserve error, we overrule
their fifth set of issues.


Remaining issues


	In their sixth set of issues, the Wilsons argue that the district court erred in denying
their motion for new trial and motion for judgment notwithstanding the verdict.  They also argue that
an exhibit presented at the Wachsmanns' depositions caused irreparable harm to the Wilsons. 
Because the Wilsons presented no authority and failed to brief their arguments regarding these
issues, we overrule them.  See Tex. R. App. P. 38.1(h).

CONCLUSION



	Having overruled all of the Wilsons' issues, we affirm the district court's judgment.



	__________________________________________

	Bob Pemberton, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Affirmed

Filed:   May 3, 2006
1. 	Although the Wilsons' notice of appeal and, therefore, our caption refer to appellee as
"Joyce" Wachsmann, she is identified in the record and her brief as "Joy" Wachsmann.
2. 	We have grouped the Wilsons' arguments into six issues.
3. 	However, the Wilsons represent in their amended docketing statement that they "have a bill
of review in Lee County J.P. Court for correction" of the justice court's judgment.
4. 	Although the Wilsons claimed lack of fair notice of the Wachsmanns' counterclaim, their
responses to the district court's questioning clarified that they had fair notice but disputed the merits
of the counterclaim.  The court informed them that the merits of the counterclaim would be resolved
at trial.
5. 	Pro se representation does not excuse the Wilsons from complying with applicable rules
of procedure:  "Neither is [the right of self-representation] a license not to comply with the relevant
rules of procedural and substantive law."  Faretta v. California, 422 U.S. 806, 834 n.46 (1975). 
There cannot be two sets of procedural rules, one for litigants with counsel and the other for litigants
representing themselves.  Litigants who represent themselves must comply with the applicable
procedural rules, or else they would be given an unfair advantage over litigants represented by
counsel.  Mansfield State Bank v. Cohn, 573 S.W.2d 181, 184-85 (Tex. 1978), see also Gudur v.
Texas Dep't of Health, 2005 Tex. App. LEXIS 8742, at *13 n.5 (Tex. App.--Austin 2005, no pet.).

6. 	The Wilsons also complain that the district court wrongly denied their bills of exception
concerning two exhibits, a check and a deposit receipt, and the court's ruling excluding testimony
from two of their trial witnesses.  To the contrary, the record contains both exhibits and the Wilsons'
exception to the exclusion of the witnesses.
7. 	The Wilsons urge that the Wachsmanns made judicial admissions in their responses to
requests for admission, their deposition testimony, their counsel's argument at the special exceptions
hearing, and their settlement offer.  We note that the Wilsons failed to include in the record the
Wachsmanns' responses to their requests for admission and Clarence Wachsmannn's deposition.  


		A judicial admission is conclusive upon the party making it, relieves the opposing party
of its burden to prove the admitted fact, and bars the admitting party from disputing it.  Mendoza v.
Fidelity &amp; Guar. Ins. Underwriters, Inc., 606 S.W.2d 692, 694 (Tex. 1980).  True judicial
admissions are formal waivers of proof usually found in pleadings or in parties' stipulations.  Id.  Joy
Wachsmann's deposition testimony, counsel's argument at the special exceptions hearing, and the
Wachsmanns' settlement offer to the Wilsons are not pleadings or stipulations and cannot constitute
conclusive judicial admissions.  See id.  Further, the Wachsmanns' settlement offer may not be
considered a judicial admission, as it was not made during the course of a judicial proceeding.  See
id.
8. 	The Wilsons also claim error regarding an additional motion for partial summary judgment
that the Wachsmanns sought on limitations grounds.  The gist of the Wilsons' argument seems to
be that the Wachsmanns titled this motion "motion for partial summary judgment" rather than
"second motion for partial summary judgment" and that this alleged misidentification caused them
"to suffer triple jeopardy."  Even if the Wilsons stated a complaint cognizable under Texas law, the
record does not reflect that they suffered harm:  there is no indication that the district court granted
the second partial summary judgment motion.
9. 	The Wilsons filed a motion for sanctions and a supplement to the motion.


